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                       IN THE SUPERIOR COURT OF GLYNN COUNTY
                                 STATE OF GEORGIA




PAMELA M. TIMBES,

                                      PLAINTIFF,              )
                            VS.                               )
                                                              )


DEUTSCHE BANK NATIONAL TRUST COMPANY,)
AS INDENTURE TRUSTEE FOR AMERICAN HOME)
MORTGAGE INVESTMENT TRUST 2005-3,     )
                                                              )


OCWEN LOAN SERVICING, LLC,                                    )
                                                              )


ALDRIDGE PITE, LLP,                                           )
FKA ALDRIDGE CONNERS                                          )
                                                              )


                                      DEFENDANTS.             )
                                                              )




    VERIFIED EMERGENCY PETITION FOR TEMPORARY RESTRAINING ORDER
                    AND/OR PRELIMINARY INJUNCTION


        1. COMES NOW, Pamela M. Timbes, Plaintiff Pro Se, and petitions this Honorable

Court for temporary injunctive relief against Defendants.

       2. Plaintiff's Complaint against Defendants is attached and incorporated herein as

Appendix A. Said Complaint (App. A) sets forth with specificity the claims of fraud and

Georgia RICO violations, inter a/ia, against the Defendants. The current wrongful attempted

foreclosure is properly brought in this Court and set forth below.   Sale City Peanut & Milling

Co. v. Planters & Citizens Bank, 130 S.E.2d 518,520 (Ga. CL App. 1963).
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                                             JURISDICTION

       3. This Court has jurisdiction because Pamela M. Timbes is, a resident of Glynn

County, Georgia. The subject property, is located in Glynn County and the impending

foreclosure sale is scheduled to take place on January 5, 2016 in Glynn County. O.C.G.A. sec.

9-5-3(b) provides that writs of injunction may be issued by the superior courts to enjoin sales by

sheriffs, at any time before a sale takes place, in any proper case made by application for

injunction.

                                            PARTIES

       4. Plaintiff, Pamela M. Timbes is a resident of Glynn County Georgia. Her home is

located at 304 Carnoustie, St. Simons Island, GA 31522.

       5. Defendant, Deutsche Bank National Trust Company as Indenture Trustee for

American Home Mortgage Investment Trust 2005-3 has its principal place of business at 1761

East St. Andrew Place, Santa Ana, CA 92705.

       6. Defendant, OCWEN Loan Servicing, LLC, has its principal place of business at

1661 Worthington Road, ste. #100, West Palm Beach, FL 33409.

       7. Aldridge Pite, LLP, has its principal place of business at 15 Piedmont Center,

 3575 Piedmont Road, NE, ste. 500, Atlanta, GA 30305.



                               WRONGFUL FORECLOSURE

       8. The subject property is the home of Pamela M. Tiinbes at 304 Carnoustie, St. Simons

Island, GA 31522.

       9. On December 2, 2010 Assignment of Security Deed to Deutsche Bank National Trust

Company, as Indenture Trustee for American Home Mortgage 2005-3 Investment Trust (Exhibit
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A) was filed in Glynn County. Said Assignment was filed five (5) years after the closing of the

American Home Mortgage 2005-3 investment Trust. Said Assignment was executed by known

44   robo signers", Elizabeth Boulton and Michelle Halyard.

           10. Currently, Deutsche Bank National Trust Company. as Indenture Trustee for

American Home Mortgage 2005-3 Investment Trust is advertising in the Brunswick News,

Glynn County, Georgia a Notice of Sale Under Power The foreclosure sale is scheduled for

January 5. 2016 (Exhibit B).

           11. Under Georgia law the foreclosing party must have a valid security deed. Deutsche

Bank National Trust Company, as Indenture Trustee for American Home Mortgage 2005-3

Investment Trust does not hold a valid security deed to the above referenced property. The

Assignment of security deed was filed in Glynn County Georgia on December 2, 2010 and was

fraudulently executed by robo signers. Said assignment is in contravention of the PSA for the

Deutsche Bank National Trust Company, as indenture Trustee for American Home Mortgage

2005-3 Investment Trust and void under New York law. The subject Assignment was prepared,

executed and recorded 5 years after the closing date of the trust, rendering it void ab initia

pursuant to N.Y. Est. Powers & Trusts Law Section 7-2.4.

           12. The Assignment of Deed to Secure Debt (Exhibit A) does not represent a true

purchase and sale of Pamela Timbes' Note and Security Deed from the Lender to a bona fide

purchaser for value. Rather, this Assignment was fabricated to create the impression in the

public records that Deutsche Bank National Trust Company, as Indenture Trustee for American

Home Mortgage Investment Trust 2005-3 had the legal right to foreclose Timbes' property.

          13. Robo signers are illegal because fraud cannot be the basis of clear title. The

Trustee's deed is void as a matter of law; notarization is a recording requirement under Georgia
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Law. Clear title may not derive from a fraud.

         14. it is the general rule that courts have power to vacate a foreclosure sale where there

has been fraud in the procurement of the foreclosure decree or where the sale has been

improperly, unfairly or unlawfully conducted, or is tainted by fraud, or where there has been

such a mistake that to allow it to stand would be inequitable to purchaser and parties. Therefore,

because the assignment of Security Deed was Robo signed, the sale is void.



                        REASONS FOR GRANTING THE TRO



 A. THERE IS A REASONABLE PROBABILITY THAT PLAINTIFFS WILL PREVAIL ON THE
                    MERITS OF THEIR COMPLAINT.

        15. The allegations in each of the above paragraphs are incorporated by reference here.

        16. Under Georgia law "The security instrument or assignment thereof vesting the

secured creditor with title to the security instrument shall be filed... " in order to proceed to

foreclosure sale under O.C.G.A. § 44-14-162(b),

        17. Under New York law "If the trust is expressed in the instrument creating the estate

of the trustee, every sale, conveyance or other act of the trustee in Contravention of the trust,

except as authorized by this article and by any other provision of law, is void." N.Y. Est.

Powers & Trusts Law § 7-2.4. See Wells Fargo Bank, N.A. v. Eroboho, et al., 2013 WL

1831799 (N.Y. Sup. Ct. April 29, 2013). In Erohobo, defendants argued that plaintiff (a REMIC

trust) was not the owner of the note because plaintiff obtained the note and mortgage after the

trust had closed in violation of the terms of the PSA governing the trust, rendering plaintiffs

acquisition of the note void. Id. at *2. The Erohoho court held that under § 7-2.4, any

conveyance in contravention of the PSA is void this meant that acceptance of the note and



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mortgage by the trustee after the date the trust closed rendered the transfer void. Id. at 8.

        18. Therefore, the Assignment (Exhibit A) of security deed to Deutsche Bank National

Trust Company, as Indenture Trustee for American Home Mortgage 2005-3 Investment Trust

which was tiled in Glynn County Georgia on December 2, 2010 five years after the Closing

Date, September 20, 2005, of said trust (Exhibit C), is in contravention to the PSA of the trust

and is void ab initio.

        19. The Assignment filed in Glynn County, GA is a fabrication for the purpose of

foreclosing upon the subject property. A fraud has been perpetrated upon the Court to the

detriment of Pamela Timbes.

        20. Consequently, there is no valid security deed filed in Glynn County Georgia upon

which Deutsche Bank National Trust Company, as Indenture Trustee for American Home

Mortgage 2005-3 Investment Trust can proceed to foreclosure sale of the subject property under

Georgia Law O.C.G.A. § 44-14-162(b).

       2 1. Under Georgia law, the court may enjoin a non-judicial foreclosure sale where the

authority to foreclose is in question. See Atlanta Dwellings. Inc. v. Wright, 527 S.E.2d 854, 856

(Ga. 2000); West v. Koufman, 384 S.E.2d at 666; Cotton v. First Nat'l Bank of Gwinnett Co.,

220 S.E.2d 132 (Ga. 1975).

B. IRREPARABLE HARM WILL RESULT IF THE TRO IS NOT GRANTED.

       22. The irrefutable facts set forth in the Complaint establish that Deutsche Bank

National Trust Company, as Indenture Trustee for American Home Mortgage 2005-3 Investment

Trust is not the real party in interest with standing to proceed to foreclosure of Pamela Timbes'

home. If not stopped, the non-judicial foreclosure will proceed and the sale will be held on

January 5, 2016. There could be no greater harm than losing one's home to a wrongful
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foreclosure.

C. PLAINTIFFS HAVE NOTICED DEFENDANTS OF VIOLATIONS AND HAVE MADE A
                   GOOD FAITH EFFORT TO NOTIFy ALL PARTIES.

        23. December 2015, Aldridge Pite, LLP (formerly Aldridge Connors) advertised the

foreclosure in The Brunswick News (Exhibit B).

        24. During the month of December 2015, Pamela M. Timbes, spoke with two

 Representatives of Aldridge Pite, LLP and informed them that Deutsche Bank National Trust

Company, as trustee, did NOT have the right to foreclose. She asked them to do their own

investigation and not rely on Ocwen.

        25. Pamela M. Timbes gave written notice on December 23, 2015 to the debt collector,

Aldridge Pite, LLP. (known high-volumn foreclosure mill) seeking a Qualified Written Request

 QWR" under 15 USC 1692 and asking them to do their own investigation (Exhibit D).

        26. Aldridge Pite, LLP had previously sent a notice dated June 5, 2015, to The United

States Bankruptcy Court, Southern Dist. Of GA, Brunswick Division, identifying the

 'secured creditor" as OCWEN LOAN SERVICING. LLC (Exhibit E) however, Deutsche Bank

National Trust Company, as Indenture Trustee for American Home Mortgage 2005-3 Investment

Trust is currently foreclosing upon the subject property. Aldridge Pite, LLP is the foreclosing

attorney. Having had knowledge of the misrepresentation, Aldridge Pitt, LLP's

misrepresentation was intentional, constituting a fraud.



               MEMORANDUM OF LAW IN SUPPORT OF TRO AND/OR
                       PRELIMINARY INJUNCTION

       27. The allegations in each of the above paragraphs are incorporated by reference here.

       28. As set forth above and in the Complaint, the Assignment of security deed filed in



                                              r11
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Glynn County (Exhibit A) was fabricated to create the false impression that Deutsche Bank

National Trust Company, as Indenture Trustee for American Home Mortgage 2005-3 Investment

Trust had the right to foreclose upon the subject mortgage which is not in said Trust.

Consequently, there is no valid security deed filed in Glynn County Georgia upon which

Deutsche Bank National Trust Company, as Indenture Trustee for American Home Mortgage

2005-3 Investment Trust can proceed to foreclosure sale of the subject property under Georgia

Law O.C.G.A. § 44-14-162(b).

         29. This is an action for emergency temporary injunctive relief which is brought

pursuant to O.G.C.A. sec. 9-5-1 and sec. 9-5-3, and on an emergency basis without notice

pursuant to O.G.C.A. sec. 9-11-65(b).

         30. O.C.G.A. sec. 9-5-1 provides that equity, by writ of injunction, may restrain any act

of a private individual or corporation which is illegal or contrary to equity and good conscience

and for which no adequate remedy is provided at law.

         31. O.CG.A. sec. 9-5-3(b) provides that writs of injunction maybe issued by the

superior courts to enjoin sales by sheriffs, at any time before a sale takes place, in any proper

case made by application for injunction.

         32. Plaintiffs have a clear legal right to seek temporary and preliminary injunctive relief

as Plaintiffs reside in the Property and as Defendants are seeking, through illegal and unlawful

means and without satisfying the necessary legal standing requirements to institute a foreclosure,

take possession, custody, and control of the Property, ultimately remove the Plaintiffs from their

home.

        33. Plaintiffs have no adequate remedy at law to redress the harm complained of, and

the sale of the Plaintiffs' property, under the circumstances of record, is contrary to equity and
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good conscience in that such sale is being instituted by parties who have no legal standing to

institute or maintain the foreclosure ab inilio.

        34. Further, Defendants are compelled by Federal law to cease debt collection until the

debt has been validated. Fair Debt Collection Practices Act:

        §807. False or misleading representations [15 Usc 1692e]
        A debt collector may not use any false, deceptive, or misleading representation or
        means in connection with the collection of any debt. Without limiting the general
        application of the foregoing, the following conduct is a violation of this section:

        (9) The use or distribution of any written communication which simulates or is
        falsely represented to be a document authorized, issued, or approved by any court,
        official, or agency of the United States or any State, or which creates a false
        impression as to its source, authorization, or approval.

        § 809. Validation of debts [15 Usc 1692g]
        (b) If the consumer notifies the debt collector in writing within the thirty-day
        period described in subsection (a) that the debt, or any portion thereof, is
        disputed,... the debt collector shall cease collection of the debt, or any disputed
        portion thereof, until the debt collector obtains verification of the .. and a copy of
        such verification . . . ,is mailed to the consumer by the debt collector.

        35. O.G.C.A. sec. 9-11-65(b)(1) and (2) provide that a temporary restraining order may

be granted without oral or written notice to the adverse party if it clearly appears from the

specific facts shown by verified complaint that immediate and irreparable injury, loss, or damage

will result to the applicant before the adverse party or his attorney can be heard in opposition,

and that the applicant's attorney certifies to the court, in writing, the efforts, if any, which have

been made to give the notice and the reasons supporting the party's claim that notice should not

be required.

        36. The specific facts set forth above demonstrate that Pamela Timbes has given Notice

to the Defendants several times and that unless a temporary injunction against the foreclosure

sale set for Tuesday, January 5, 2016 is granted, that Plaintiff will suffer the irreparable injury,

loss, and damage of the loss of her home and eviction therefrom. Focus Entertainment
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International, Inc. v. Partridge Greene, Inc., 253 Ga. App. 121, 127, 558 S.E.2d 440.446 (2001).

The harm to an interest in land is deemed irreparable for purposes of injunctive relief Westpark

Walk Owners, LLC v. Stewart Holdings, LLC, 288 Ga. App. 633, 635, 655 S.E.2d 254, 257

(2007).

          37. Under the circumstances where the foreclosure sale is set for one (1) calendar day

from the date of the filing of this Verified Petition for TRO the irreparable loss to the Plaintiff

will result before the Defendants maybe heard in opposition to the relief requested herein if the

emergency relief requested herein is not granted immediately.

          38. As have no legal standing to institute or maintain a foreclosure of the subject

property, there is no harm to said Defendants with the granting of the requested relief, and any

claimed harm is substantially outweighed by the irreparable harm to the Plaintiff if the relief

requested herein is not granted.

          39. The granting of the relief requested herein is in the public interest, as the consuming

public, including Plaintiff, will continue to be harmed by the illegal and unlawful conduct of the

Defendants if the relief requested herein is not granted.

          40. Under the circumstances where there is no harm to Defendants with the granting of

the requested relief, no bond should be required as a prerequisite to the granting of the relief

requested herein as there are no costs or other damages which could be contemplated on the part

of Defendants with the granting of the requested relief for which a bond would otherwise be

necessary.

          WHEREFORE, Plaintiff prays unto this Court to immediately take jurisdiction of this

matter and enter an Order granting a temporary restraining order and/ or preliminary injunction

expressly precluding and cancelling the foreclosure sale presently scheduled for January 5, 2016
     Case 2:16-cv-00031-LGW-RSB Document 1-2 Filed 02/24/16 Page 10 of 27



for the reasons set forth herein; and for any other and further relief which is just and proper.

               Respectfully submitted this 4" day of January, 2016.


                                                                           Pamela M. Timbes

                                                                           304 Carnoustie
                                                                           St. Simons Island, Georgia 31522
                                                                           (912) 222-6773
                                                                           ptirnbesgmail.com




                                       VERIFICATION

         1, Pamela M. Timbes am the Plaintiff in this action. I have read the foregoing Verified
Petition for Emergency Temporary Injunctive Relief and know the contents thereof Regarding
the allegations of which the plaintiff has personal knowledge, the plaintiff believes them to be
true. Regarding the allegations of which the plaintiff does not have personal knowledge, the
plaintiff believes them to be true based on specified information, document, or both.


                                                              Pamela M. Timbes
                                                              Plaintiff




The foregoing has been reviewed by the undersigned, appears to be true and correct, and is
hereby sworn to and subscribed under oath before me this 4th day of January, 2016
by Pamela M. Timbes who is known to me and has produced her driver's license as
identification.



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              County of Glynn                                         r.
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                      IN THE SUPERIOR COURT OF GLYNN COUNTY
                                STATE OF GEORGIA




PAMELA M. TIMBES,

                                      PLAINTIFF,              )
                      VS.
                                                              )


DEUTSCHE BANK NATIONAL TRUST COMPANY,)
AS INDENTURE TRUSTEE FOR AMERICAN HOME)
MORTGAGE INVESTMENT TRUST 2005-3,     )
                                                              )


OCWEN LOAN SERVICING, LLC,                                    )
                                                              )


ALDRIDGE PITE, LIP,                                           )
FKA ALDRIDGE CONNERS                                          )
                                                              )


                                      DEFENDANTS.             )
                                                              )




                             CERTIFICATE OF SERVICE


     I hereby certify that I have this day served the following parties with the Verified
Emergency Petition for Temporary Restraining Order and/or Preliminary Injunction.




By placing the same in the United States Mail with sufficient postage affixed thereon to assure
delivery. Additionally, email with the same attached was sent as noted above.



       Respectfully submitted this 4" day of January, 2016.
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                                          Pamela M. Timbes
                                          Plaintiff Pro Se

                                          304 Carnoustie
                                          St. Simons Island, Georgia 3 1522
                                          (912) 222-6773
                                           ptimbes@gmaii.com
 Case 2:16-cv-00031-LGW-RSB Document 1-2 Filed 02/24/16 Page 13 of 27



Deed Book 2901 Page 247, Filed and Recorded 12f02/2D10 at 10:45:12 AM
CFN #632010012537 Lola Jainsky Clerk of Superior Court Glynn County,
GA




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        STATE OF          Florida                         File No. 0-20032
        COUNTY OF          Duval                          MINØ 1003 14O0000873076

                                    ASSIGNMENT OF SECURITY DEED
                FOR VALUE RECEIVED, Mortc'age Electronic Registration Systems, Inc. as nominee
        for American Home Mortgage Acceptance, Inc., its successors and assigns (hereinafter referred
        to as Assignor") hereby sells, assigns, transfers, sets over and conveys without recourse unto
        Deutsche Bank National Trust Company, as Indenture Trustee for American Home Mortgage
        Investment Trust 2005-3 (hereinafter referred to as A1gneeM), whose address is 6591 Irvine
        Center Drive Irvine, CA 92615, that certain Security Deed or Deed to Secure Debi executed by
        Pamela M. Tirnbea to Mortgage Electronic Registration Systems, Inc. as nominee for American
        Home Mortgage Acceptance, Inc., its successors and assigns and dated June 23, 2005, recorded
        in Deed Book 1706, Page 17E, Clerk's Office, Superior Court of Glynn County, Georgia,
        together with the rca] property therein described; and also the indebtedness described in said
        Deed and secured thereby, having this day been transferred and assigned to the said Assignee
       together with all of Assignor's right, title and interest in and In the said Deed, the properly
        therein described and the indebtedness secured; and the said Assignee is hereby subrogated to all
       the rights, powers, privileges and securities vested in Assignor under and by virtue of the
        aforesaid Security Deed or Deed to Secure Debt.
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Deed Book 2801 Page 248




      File No, t0-20032Mfl4* I00140000O73076




      This Assignment of Security Deed is executed on this     day ofA/c Ve-i,J"         , 2O/.
      Signed, sealed and delivered
      in the presence Of
                                                 Mortgage Electronic Registration Systems, Inc. as
                                                 nominee for American Home Mortgage Acceptance, Inc.,
                                                 its successors and assiss



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Case
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       on       '      by Yves Document
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Wow, Jones Day just created a huge mess for its client and banks generally if anyone is alert
 enough to act on it.

 The lawsuit in question is American Home Mortgage Servicing inc. v Lender Processing
 Services. It hasn't gotten all that much attention (unless you are on the LPS deathwatch beat)
 because to most, it looks like yet another beauty contest between Cinderella's two ugly sisters.


AHMSI is a servicer (the successor to Option One, and it may also still have some Ameriquest
servicing). AHMSI is mad at LPS because LFS was supposed to prepare certain types of
documentation AHMSI used in foreclosures AHMSI authorized the use of certain designated
staffers signing with the authority of AHSI (what we call robosinging, since the people signing
these documents didn't have personal knowledge, which is required if any of the documents
were affidavits). But it did not authorize the use of surrogate signers, which were (I kid you not)
people hired to forge the signatures of robosigners.

The lawsuit rather matter of factly makes a stunning admission (note that FSA here means
Professional Services Agreement, and it was the contract between AHSJ and LFS, click to
enlarge):


                         19.      Amendment I formalized what :\IIMSI and Defendants had been doing, and

            continued to do, under the PSA. Before initiating a foreclosure action for a particular property.

            AHMSFs local foreclosure counsel would review a title report to determine whether an

           assignment of mortgage needed to be recorded in the local land records at some point during a

           foreclosure proceeding in order to memorialize the transfer of ownership from the originating

           lender to the securitization trust. If so, foreclosure counsel would request an assignment on

           LPS's computerized foreclosure tracking system known as 'LPS Desktop." Upon receiving this

           request, Defendants prepared the assignment based on the relevant jurisdiction's requirements

           and, through the system, notified local counsel that it was ready for review. If local counsel

           approved, the Special Officers appointed by AHMSI were authorized to sign for the assignor,

           and Defendants' representatives then notarized the completed assignments. When completed,

           Defendants would send the executed assignment documents, as well as the recording fee, to an

           abstractor in the relevant jurisdiction, who would hand-carry the items to the county recorder

       with instructions to return the recorded assignments to Defendants. Defendants employed this

       process to prepare, execute and record thousands of assignments for          AHMSI throughout the

       United States, including in Texas.
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        Did you get it? They said that these procedures were standard between the two companiE
        which was to to memorialize the transfer of ownership lender to the securitLZatIofl trust'
        before initiating foreclosure. If you are a regular reader of this blog, you know that is
        impermissibly late. The note and mortgage had to get to the trust by a clearly specified da
        usually 90 days after closing. As we've written numerous times, in the overwhelming majo
        cases, the securitization entity was a New York trust, and New York trusts are like comput


     yode they can only operate exactly as stipulated The exception was trusts by Chase and
     WaMu, which did allow for the originator to serve as custodian for the trust.

     So AHMSI has just admitted that all of its foreclosures done with LPS were completed by the
     wrong party. In Alabama, wrongful foreclosures are subject to statutory damages of three time
     the value of the house, and recent cases have awarded much higher multiples of the property
     value. This little paragraph is a litigation goldmine for the right attorneys. 1 hope they have fun
     with it.

     I've included the entire filing.

     AHMSI vLPS File-Stamped Petition
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                                                                              27 1 of 2
                                                                        h
The Brunswick News



T1-E BRWSICK NEWS

Publication Name:
The Brunswick News

Publication URL:

Publication City and State:
Brunswick, 6A

Publication County:
Glynn



Notice Popular Keyword Category:

Notice Keywords:
Foreclosures

Notice Authentication Number:
201601040813261527845
1136338044

Notice I IRI

        Notice Publish [)ate:
 Saturday. January 02, 2016

Notice Content

NOTICE OF SALE UNDER POWER, GLYNN COUNTY Pursuant to the Power of Sale contained in a Security Deed given by Pamela M Tirnbes to
Mortgage Electronic Registration Systems, Inc. as nominee for American Home Mortgage Acceptance, Inc. dated 6/23/2005 and recorded in
Deed Book 1706 Page 178, Glynn County, Georgia records; as Fast transferred to or acquired by Deutsche Bank National Trust Company, as
Indenture Trustee for American Home Mortgage Investment Trust 2005-3, conveying the alter-described property to secure a Note in the
original principal amount of $ 771,00000 with interest at the rate specified therein, there will be sold by the undersigned at public outcry to
the highest bidder for cash before the Courthouse door of Glynn County, Georgia, within the legal hours of sale on January 05, 2016 (being
the first Tuesday of said month unless said date falls on a Federal Holiday), the following described property: ALL that certain lot, tract or
parcel of land situate, lying and being in St. Simons Island Club Subdivision, Phase IX, on St. Simons Island, in Glynn County, Georgia,
Described and identified according to the map and plan of said subdivision made by George P. Underwood, Jr., Georgia Registered Surveyor
No 1927, dated April 7, 1988, and recorded in Plat Drawer No. 20, designated at Map No. 224, in the Office of the Clerk of the Superior
Court of Glynn County Georgia, as ALL OF LOT NUMBERED SEVEN (7), ST. SIN1ONIS ISLAND CLUB SUBDIVISION, PHASE IX. Reference is
hereby made to said map and plan and to the record thereof for further description and identification of said real property and for all other
purposes. The debt secured by said Security Deed has been and is hereby declared due because of, among other possible events of default,
failure to pay the indebtedness as and when due and in the manner provided in the Note and Security Deed. The debt remaining in default,
this sale will be made for the purpose of paying the same and all expenses of this sale, as provided in the Security Deed and by law,
including attorneys fees (notice of intent to collect attorneys fees having been given). Said property is commonly known as 304 Carnoustie,
Saint Simons Island, GA 31522 together with all fixtures and personal property attached to and constituting a part of said property, if any. To
the best knowledge and belief of the undersigned, the party (or parties) in possession of the subject property is (are): Pamela M Timbes or
tenant or tenants. Ocwen Loan Servicing, LLC is the entity or individual designated who shall have full authority to negotiate, amend and
modify all terms of the mortgage. Ocwen Loan Servicing, LLC Foreclosure Loss Mitigation 1661 Worthington Road Suite 100 West Palm
Beach, FL 33409 1-877-596-8580 Note, however, that such entity or individual is not required by law to negotiate, amend or modify the
terms of the loan. Said property will be sold subject to: (a) any outstanding ad valorem taxes (including taxes which are a lien, but not yet
due and payable), (b) unpaid water or sewage bills that constitute a lien against the property whether due and payable or not yet due and
payable and which may not be of record, (c) the right of redemption of any taxing authority, (d) any matters which might be disclosed by an
accurate survey and inspection of the property, and (e) any assessments, liens, encumbrances, zoning ordinances, restrictions, covenants,
and matters of record superior to the Security Deed first set out above. The sale will be conducted subject to (1) confirmation that the sale is
not prohibited under the U.S. Bankruptcy Code; and (2) final confirmation and audit of the status of the loan with the holder of the Security
Deed. Pursuant to O.CGA. Section 9-13-172.1, which allows for certain procedures regarding the rescission of judicial and non-judicial sales
in the State of Georgia, the Deed Under Power and other foreclosure documents may not be provided until final confirmation and audit of the
status of the loan as provided immediately above. Deutsche Bank National Trust Company, as Indenture Trustee for American Home
Mortgage Investment Trust 2005-3 as agent and Attorney in Fact for Pamela M Timbes Aldridge Prte, LLP (formerly known as Aldridge




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Connors, LLP), 15 Piedmont Center, 3575 Piedmont Road, NE., Suite 500, Atlanta, Georg [a 30305, (404) 994-7400. I017-660999A THIS
LAW FIRM MAY BE ACTING AS A DEBT COLLECTOR ATTEMPTING TO COLLECT A DEBT ANY INFORMATION OBTAINED WILL BE USED FOR
THAT PURPOSE. 1017-660999A

Back




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  424B5 I    d377664_424b - 5.htm AMERICAN HOME MORTGAGE SECURITIES LLC
          Prospectus supplement dated September 19, 2005 (to prospectus dated September 19, 2005)
                                                     $722,234,000
                                              (Approximate)
                                                  ILogo
                               American Home Mortgage Investment Trust 2005-3
                                                         Issuer
                                     American Home Mortgage Servicing, Inc.

                                                       Servicer

                                    American home Mortgage Securities LLC
                                                  Depositor
                              American Home Mortgage Investment Trust 2005-3,
                                    Mortgage-Backed Notes, Series 2005-3

    You should consider carefully the risk factors beginning on page S-I 1 in this prospectus supplement.

 The Trust
          The trust will Consist primarily of a pool of fixed-rate and adjustable-rate mortgage loans, divided into
 three loan groups. The trust will issue seventeen classes of notes, fourteen of which are offered under this
 prospectus supplement.
 Credit Enhancement
          The notes will have credit enhancement in the form of:
               .    excess interest and overcollateralization;

               • subordination provided to some classes of notes by other classes of notes as described in this
                   prospectus supplement: and
               •    limited cross-collateralization as described in this prospectus supplement.

           In addition, derivatives will be included in the trust which will cover some basis risk shortfalls on some
 classes of notes.
 Neither the Securities and E x change Commission nor any state securities commission has approved or
 disapproved of these securities or passed upon the adequacy of this prospectus. Any representation to the
 contrary is a criminal offense.
 The Attorney General of the state of New York has not passed on or endorsed the merits of this offering.
 Any representation to the contrary is unlawful
           LJBS Securities LLC, Credit Suisse First Boston LLC, Goldman, Sachs & Co., Lehman Brothers Inc.
 and Merrill Lynch, Pierce, Fenner & Smith Incorporated will offer the Class A, Class M-1, Class M-2, Class
 M-3 and Class M4 Notes to the public, at varying prices to be determined at the time of sale. The proceeds to
 the depositor from the offering will be approximately 100.00% of the aggregate note principal balance of these
 notes, plus interest from the cut-off date on the Class II-A-2, Class 1I-A-3, Class II-A-4, Class ill-A-I, Class 111-
 A-3 and Class III-A-4 Notes. The expenses of the depositor are estimated to be $825,000. See "Method of
 Distribution" in this prospectus supplement.

 UBS Inves tment Bank
                     Sui sse First Boston
              Credit Sui
                                       Goldman, Sachs & Co.
                                                                       Lehman Brothers
                                                                                            Merrill Lynch & Co.




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               Important notice about information presented in this prospectus supplement
                                   and the accompanying prospectus

 You should rely only on the information contained in this document. We have not authorized anyone to
 provide you with different information.

 We provide information to you about the notes in two separate documents that progressively provide
 more detail:

             • the accompanying prospectus, which provides general information, some of which may not
                  apply to this series of notes; and
             • this prospectus supplement, which describes the specific terms of this series of notes.

 If the description of your notes in this prospectus supplement differs from the related description in the
 prospectus, you should rely on the information in this prospectus supplement.

         The depositor's principal executive offices are located at 538 Broadhollow Road, Melville, New York
 11747 and its phone number is (877) 281-5500.




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          The following summary is a very broad overview of the notes and does not contain all of the
information that you should consider in making your investment decision. To understand all of the terms of the
notes, read carefully this entire prospectus supplement and the entire accompanying prospectus. A glossary is
included at the end of this prospectus supplement. Capitalized terms used but not defined in the glossary at the
end of this prospectus supplement have the meanings assigned to them in the glossary at the end of the
accompanying prospectus.

  Issuer or Trust                               American Home Mortgage Investment Trust 2005-3.

  Title of Series                               Mortgage-Backed Notes, Series 2005-3.

  Cut-off Date                                  September 1,2005.

  Closing Date                                  On or about September 20. 2005,

  Depositor                                     American Home Mortgage Securities LLC.

  Seller                                        American Home Mortgage Acceptance, Inc., an affiliate of the
                                                depositor and the servicer.

  Master Servicer                               Wells Fargo Bank, National Association.

  Servicer                                      American Home Mortgage Servicing, Inc.

  indenture Trustee                             Deutsche Bank National Inist Company.

  Owner Trustee                                 Wilmington Trust Company.

  Securities Administrator                      Wells Fargo Bank, National Association.

  Payment Dates                                 Payments on the notes will be made on the 25th day of each month,
                                                or, if such day is not a business day, on the next succeeding
                                                business day, beginning in October 2005.

  Notes                                         The classes of notes and their note interest rates and initial note
                                                principal balances are set forth in the table below.




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December 23, 2015



To: Aldridge Pite, LIP (debt collector)



From: Pamela M. Timbes

      304 Carnoustie

      St Simons island, GA 31522

      Ocwen loan #7147514793



Re: QUALIFIED WRITTEN REQUEST, COMPLAINT, DISPUTE & VALIDATION OF
DEBT LETTER



Dear Aldridge Pite, LLP,

I dispute the entirety of the alleged debt obligation you claim I owe and the
party you claim the debt obligation is owed to. I have made this request
previously to Ocwen & Aldridge Connors. I specifically asked for an investigation
to find out just what entity owns the alleged debt obligation but have not
gotten a response.

Per the terms of the original note I executed, there are other parties that were
co-obligors to the obligation and I have no record of their payments. A servicing
history only provided records of payments made by borrowers and not of other
co-obligors such as insurers, sureties, endorsers, and/or guarantors. I have not
seen evidence supporting the total of my actual debt obligation as on the
alleged note owner's books and records, not servicers records.

I have conflicting information provided by Aldridge Pite as to just who the
secured creditor is.
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I have attempted to find out this information from the bankruptcy trustee for
American Home Mortgage too but the trustee has not provided it to me. I've
requested this many times.

As the debt collector it is your responsibility to investigate this matter and
provide me with the results. We all need to know if the debt has been paid, why
the note was never transferred & why a fraudulent assignment was recorded. I
know that your debt collection firm does not want to be involved in any type of
fraud. Until this information is provided you must stop all foreclosure activities.

Deutsche Bank does NOT have this loan. The assignment is not a legal
assignment.

Please investigate and let me know if there is debt on this property that is still
owed or if it has all be paid by others.



Sincerely,



Pamela M. Timbes

Ocwen #7147514793

ptimbes@gmail.com (912)222-6773
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                  BRUNSWICK DIVISION

IN RE:                                                    CASE NO.: 15-20359
                                                          CHAPTER: 13
PAMELA M. TIMBES
                                                          JUDGE: JOHN S. DALIS
                                    Debtor(s)



   NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF NOTICE
TO THE COURT, THE CLERK OF THE COURT, TO THE DEBTOR(S), THE TRUSTEE,
ALL CREDITORS AND ALL OTHER INTERESTED PARTIES:

         The undersigned hereby files this Notice of Appearance in the above entitled matter as

attorney for Secured Creditor, OCWEN LOAN SERVICING, LLC (hereinafter referred to as

"Creditor") in accordance with Rule 9010(b) of the Federal Rules of Bankruptcy Procedure and

hereby requests that he be served with all pleadings, court notices, motions and other documents

and papers pertaining to the above captioned matter, including all notices required by Rule 2002

of the Federal Rules of Bankruptcy Procedure to the following address:

                               John D. Schlotter
                               Aldridge Pite LLP (formerly known as Aldridge Connors, LLP)
                               Fifteen Piedmont Center
                               3575 Piedmont Road, N.E., Suite 500
                               Atlanta, GA 30305

Dated: June 5, 2015                                   Is/John D. Schiotter
                                                       John D. Schlotter, Bar No.: GA 629456
                                                      Attorney for Creditor
                                                      Aldridge Pite, LLP (formerly known as
                                                      Aldridge Connors, LLP)
                                                      Fifteen Piedmont Center
                                                      3575 Piedmont Road, N.E., Suite 500
                                                      Atlanta, GA 30305
                                                      Phone: (404) 994-7400
                                                      Fax: (888) 873-6147
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                                 CERTIFICATE OF SERVICE

         I, certify that I am over the age of 18 and that on the date written below a copy of the
foregoing Notice of Appearance and Request for Service of Notice was served by email or by
first class U.S. Mail, with adequate postage prepaid on the following persons or entities at the
addresses stated:

The following Parties have been served via email:


The following parties have been served electronically through the court's ECF System at the
email address registered with the Court:



M. Elaina Massey


The following parties have been served via U.S. Mail:




Dated: June 5, 2015                                 /s/ John D. Schlotter
                                                     John D. Schiotter, Bar No.: GA 629456
                                                    Aldridge Pite, LLP (formerly known as
                                                    Aldridge Connors, LLP)
                                                    Fifteen Piedmont Center
                                                    3575 Piedmont Road, N.E., Suite 500
                                                    Atlanta, GA 30305
                                                    Phone: (404) 994-7400
                                                    Fax: (888) 873-6147
